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                          UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA


                            )                     Case Number
PEGGY AND JOHN LITZ, h/w    )
                            )
           Plaintiff        )
                            )                     CIVIL COMPLAINT
     vs.                    )
                            )
NATIONAL ACTION FINANCIAL   )                     JURY TRIAL DEMANDED
SERVICES, INC. AND          )
CALVARY PORTFOLIO SERVICES, )
LLC                         )
                            )
           Defendant        )



                            COMPLAINT AND JURY DEMAND

         COMES NOW, Plaintiff, Peggy and John Litz h/w, by and through their

undersigned counsel, Brent F. Vullings, Esquire of Warren & Vullings, LLP, complaining

of Defendant and respectfully avers as follows:

                       I.      INTRODUCTORY STATEMENT

         1.    Plaintiff, Peggy and John Litz, h/w, are adult natural persons and bring this

action for actual and statutory damages and other relief against Defendant for violations of

the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. ³)'&3$´ ZKLFK

prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

                                 II.     JURISDICTION

         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.
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       3.      Venue in this District is proper in that the Defendants transact business here

and Defendant has an address in this District.

                                 III.    PARTIES

       4.      Plaintiffs, Peggy and John Litz, h/w ³3ODLQWLII´ are adult natural persons

residing at 9135 Norfolk, VA 23503. At all times material and relevant hereto, Plaintiffs

are ³FRQVXPHUs´DVGHILQHGE\WKH)'&3$86&D  

       5.      Defendant, National Action Financial Services, Inc. ³'HIHQGDQW, NAFS´ 

at all times relevant hereto, is and was a corporation engaged in the business of collecting

debt within the State of Virginia and the Commonwealth of Pennsylvania with a

Pennsylvania address of 116 Pine Street, Suite 320, Harrisburg, PA 17101.

       6.      'HIHQGDQW&DOYDU\3RUWIROLR6HUYLFHV//& ³'HIHQGDQW, Calvary´ DWDOO

times relevant hereto, is and was a limited liability corporation engaged in the business of

collecting debt within the State of Virginia and the State of New York with its principal

place of business located at 7 Skyline Drive, Hawthorne, NY 10532.

       7.      Defendants are engaged in the collection of debts from consumers using the

mail and telephone. Defendants regularly attempt to collect consumer debts alleged to be

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§1692a(6).

                           IV.    FACTUAL ALLEGATIONS

       8.      In or around June 2010, the Plaintiffs began receiving phone calls from the

Defendant, NAFS.
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        9.      At the time the calls began, the Plaintiffs were unavailable to answer the

phone calls therefore; the Defendant, NAFS would leave messages on the Plaintiffs¶

answering machine. The messages left by the Defendant, NAFAS stated that the

Defendant was calling in regard to an alleged debt but failed to leave a contact number for

the Plaintiffs to return the call.

        10.     Eventually, after weeks of receiving phone messages from the Defendant,

NAFS the Defendant started leaving a phone number in which the Plaintiff, Peggy was

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        11.     The Plaintiff, Peggy contacted the Defendant, NAFS and spoke with an

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was calling in regard to an alleged debt owed for a Navy FCU checking account from 2001

by the Plaintiff, Peggy.

        12.     The Plaintiff, Peggy requested that the Defendant, NAFS send verification

RIWKHDOOHJHGGHEWWKURXJKWKHPDLOZKLFKWKH'HIHQGDQW¶VDJHQW³0DUVKDOO0D[ZHOO´

agreed to do.

        13.     After speaking with the Defendant, NAFS the Plaintiff, Peggy, knowing

that that she had never had an account with Navy FCU, contacted the original creditor to

find out if there were any records of the Plaintiff, Peggy having an account.

        14.     The representative from Navy FCU conducted a search on the Plaintiff,

Peggy and found that there were no accounts attached to the Plaintiff3HJJ\¶V name. The

Navy FCU representative also told the Plaintiff, Peggy that Navy FCU does not send such
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accounts to collectors, especially not checking accounts and suggested that the Plaintiff,

Peggy contact Navy FCU upon receiving the verification letter from the Defendant, NAFS.

       15.     On or about August 25, 2010, the Plaintiff, Peggy reFHLYHGWKH'HIHQGDQWV¶

letter and immediately sent a copy to Navy FCU. 6HH([KLELW³$´DWWDFKHGKHUHWR

       16.     The Plaintiff, Peggy contacted the representative from Navy FCU who

confirmed that there was no record for an account belonging to the Plaintiff, Peggy and

that the account number given in the Defendants¶ letter does not even correspond with the

account numbers used by Navy FCU.

       17.     The Plaintiff, Peggy asked the Navy FCU representative if their company

can contact the Defendant, NAFS but the representative informed the Plaintiff, Peggy that

Navy FCU is unable to do so due to the fact that Navy FCU has no affiliation with the

Defendant, NAFS.

       18.     During the next conversation that the Plaintiff, Peggy had with the

Defendant, NAFS the Plaintiff, Peggy explained the situation that the account does not

belong to the Plaintiff, Peggy and to stop calling.

       19.     The Defendant, NAFS told the Plaintiff, Peggy that Navy FCU had to verify

the information that they told the Plaintiff, Peggy. The Plaintiff, Peggy explained that

Navy FCU would not provide that information and to stop calling since the Plaintiff, Peggy

is not who the Defendants are looking for.

       20.     The Defendant, NAFS continued to contact the Plaintiff, Peggy even after

being told the aforementioned information.
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       21.     The Defendant, NAFS contacted the Plaintiff, Peggy again but this time the

Plaintiff, John answered the phone call. The Plaintiff, John asked the Defendant, NAFS

why the Defendant was continuing to call after being told the account does not belong to

the Plaintiffs and again requested the Defendant, NAFS to stop calling.

       22.     The 'HIHQGDQW1$)6¶V agent responded to the Plaintiff, John by telling

him that that the Defendant, NAFS was calling to set up a settlement offer. The Plaintiff,

John told the Defendant that there will be no arrangement to pay since the Plaintiffs owe

nothing.

       23.     The Defendant, NAFS still refused to stop calling and during one of the

following calls, the Plaintiff, Peggy DVNHGWKHDJHQW³:KDWFDQ,GRWRPDNe you get the

point that it is not my debt and to stop WU\LQJWRFROOHFW"´

       24.     The Defendant, NAFS¶VDJHQWZDVYHU\UXGH and responded to the Plaintiff,

3HJJ\¶V question by threatening to contact the Plaintiff, Peggy everyday starting at 8:00am

until the Plaintiff, Peggy paid and the matter was taken care of.

       25.     The Defendant, NAFS¶VDJHQWWKHQWROGWKH3ODLQWLII, Peggy that it was the

Plaintiff, John who had contacted the Defendant, NAFS to set up a settlement plan when in

fact, the Defendant¶VDJHQWFRntacted the Plaintiff, John to do the same.

       26.     The Defendant, NAFS¶VDJHQWZRXOGQRWOHWWKH3ODLQWLII, Peggy speak in

order for the Plaintiff, Peggy to explain the situation and continued to talk over the

Plaintiff, Peggy.

       27.     The Plaintiff, John previously had an account with Navy FCU but filed

Chapter 13 bankruptcy in 2000. The bankruptcy was discharged and the Plaintiff, John
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was released from bankruptcy in 2002 due to paying it off early. The Navy FCU account

was closed and the Plaintiff3HJJ\¶V name was never on the account.

        28.     The Plaintiffs believe that the Defendant, Calvary purchased the account

from Navy FCU and has retained the Defendant, NAFS to attempt to collect on a debt that

has been discharged in bankruptcy and is no longer a valid debt.

        29.     The Defendant, Calvary is attempting to collect an amount that is not

authorized by any agreement, creating the alleged debt or that is permitted by law after

being discharged in bankruptcy filed by the Plaintiff, John.

        30.     On or around October 13, 2010, the Defendants sent another letter to the

Plaintiff, Peggy regarding the alleged debt. 6HH([KLELW³%´DWWDFKHGKHUHWR

        31.     The Defendant, NAFS continues to call the Plaintiff, Peggy on a daily basis.

        32.     The Defendants acted in a false, deceptive, misleading and unfair manner

by threatening to take action that it did not intend to take for the purpose of coercing

Plaintiffs to pay the debt.

        33.     The Defendants knew or should have known that their actions violated the

FDCPA. Additionally, Defendants could have taken the steps necessary to bring their and

WKHLUDJHQW¶V actions within compliance of the FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.

        34.     At all times pertinent hereto, Defendants were acting by and through their

agents, servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendants herein.
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        35.     At all times pertinent hereto, the conduct of Defendants as well as its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiffs herein.

        36.     As a result of Defendants¶ conduct, Plaintiffs have sustained actual

damages, including, but not limited to, injury to Plaintiffs¶ reputation, invasion of privacy,

damage to Plaintiffs¶ credit, out-of-pocket expenses, physical, emotional and mental pain

and anguish and pecuniary loss and he will continue to suffer same for an indefinite time in

the future, all to his great detriment and loss.

        37.     The Plaintiffs have suffered and continue to suffer actual damages as a

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        38.     As a direct consequence of WKH'HIHQGDQWV¶DFWVSUDFWLFHVDQGFRQGXFWWKH

Plaintiffs suffered and continue to suffer from humiliation, anger, anxiety, emotional

distress, fear, frustration and embarrassment.

        39.     7KH'HIHQGDQWV¶FRQGXFWZDVVRRXWUDJHRXVLQFKDUDFWHUDQGVRH[WUHme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious,

and utterly intolerable in a civilized community.




                                     COUNT I ± FDCPA

        40.     The above paragraphs are hereby incorporated herein by reference.

        41.     At all times relevant hereto, Defendants were attempting to collect an

alleged debt which was incurred by Plaintiffs for personal, family or household purposes

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       42.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

               §§ 1692c(a)(1):         At any unusual time, unusual place, or unusual time

                                       and place known to be inconvenient to the consumer

               §§ 1692c(b):            :LWKDQ\RQHH[FHSWFRQVXPHUFRQVXPHU¶VDWWRUQH\

                                       or credit bureau concerning the debt

               §§ 1692d:               Any conduct the natural consequence of which is to

                                       harass, oppress, or abuse any person

               §§ 1692d(5):            Caused the phone to ring or engaged any person in

                                       telephone conversations repeatedly

               §§ 1692e:               Any other false, deceptive, or misleading

                                       representation or means in connection with the debt

                                       collection

               §§ 1692e(2):            Character, amount, or legal status of the alleged debt

               §§ 1692e(10):           Any false representation or deceptive means to

                                       collect a debt or obtain information about a consumer

               §§ 1692f:               Any unfair or unconscionable means to collect or

                                       attempt to collect the alleged debt

               §§ 1692f(1):            Attempt to collect any amount not authorized by the

                                       agreement creating the debt or permitted by law
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        WHEREFORE, Plaintiffs respectfully request that this court enter judgment in

their favor and against Defendants, Nation Action Financial Systems, Inc. and Calvary

Portfolio Services, LLC and Order the following relief:

        a.         Actual damages;

        b.         Statutory damages pursuant to 15 U.S.C. §1692k;

        c.         5HDVRQDEOHDWWRUQH\¶VIHHVDQGFRVWVRIVXLWSXUVXDQWWR86&N

and

        d.         Such addition and further relief as may be appropriate or that the interests of

justice require.

                                     V.      JURY DEMAND

        Plaintiffs hereby demand a jury trial as to all issues herein.



                                                  Respectfully submitted,
                                                  WARREN & VULLINGS, LLP

        Date: November 12, 2010
                                                  BY: /s/ Brent F. Vullings_

                                                  Brent F. Vullings, Esquire
                                                  Warren & Vullings, LLP
                                                  1603 Rhawn Street
                                                  Philadelphia, PA 19111
                                                  215-745-9800 Fax 215-745-7880
                                                  Attorney for Plaintiff
